                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

JANIS SHUMWAY, Individually,               :
                                           :
            Plaintiff,                     :
                                           :
v.                                         :            Case No.
                                           :
PENNYS NEST INC., A Tennessee Corporation, :
                                           :
            Defendant.                     :
_______________________________________/ :
                                           :
                                           :
                                           :

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, JANIS SHUMWAY, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

PENNYS NEST INC., A Tennessee Corporation, (sometimes referred to as “Defendant”), for

Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of Tennessee, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps and primarily relies on a wheelchair when

               ambulating. Plaintiff requires accessible handicap parking spaces located closest to

               the entrances of a facility. The handicap and access aisles must be of sufficient width

               so that she can embark and disembark from a ramp into her vehicle. Routes

               connecting the handicap spaces and all features, goods and services of a facility must

               be level, properly sloped, sufficiently wide and without cracks, holes or other hazards



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            that can pose a danger of tipping, catching wheels or falling. These areas must be free

            of obstructions or unsecured carpeting that make passage either more difficult or

            impossible. Amenities must be sufficiently lowered so that Plaintiff can reach them.

            She has difficulty operating door knobs, sink faucets, or other operating mechanisms

            that tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that

            have unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks

            must be at the proper height so that she can put her legs underneath to wash her

            hands. She requires grab bars both behind and beside a commode so that she can

            safely transfer and she has difficulty reaching the flush control if it is on the wrong

            side. She has difficulty getting through doorways if they lack the proper clearance.

2.          Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

            "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

            determining whether places of public accommodation and their websites are in

            compliance with the ADA.

3.          According to the public property records, Defendant owns a place of public

            accommodation as defined by the ADA and the regulations implementing the ADA,

            28 CFR 36.201(a) and 36.104. The place of public accommodation that the

            Defendant owns is a place of lodging known as Park n' Stay Inn Johnson City TN,

            3406 W Market St, Johnson City, TN 37604, and is located in the County of

            Washington, (hereinafter "Property").

4.          Venue is properly located in this District because the subject property is located in

            this district.


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5.          Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

            original jurisdiction over actions which arise from the Defendant’s violations of Title

            III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

            U.S.C. § 2201 and § 2202.

6.          As the owner of the subject place of lodging, Defendant is required to comply with

            the ADA. As such, Defendant is required to ensure that it's place of lodging is in

            compliance with the standards applicable to places of public accommodation, as set

            forth in the regulations promulgated by the Department Of Justice. Said regulations

            are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

            Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

            by reference into the ADA. These regulations impose requirements pertaining to

            places of public accommodation, including places of lodging, to ensure that they are

            accessible to disabled individuals.

7.          More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

            requirement:

            Reservations made by places of lodging. A public accommodation that owns,
            leases (or leases to), or operates a place of lodging shall, with respect to
            reservations made by any means, including by telephone, in-person, or through a
            third party -
                    (i) Modify its policies, practices, or procedures to ensure that individuals
                    with disabilities can make reservations for accessible guest rooms during
                    the same hours and in the same manner as individuals who do not need
                    accessible rooms;
                    (ii) Identify and describe accessible features in the hotels and guest rooms
                    offered through its reservations service in enough detail to reasonably
                    permit individuals with disabilities to assess independently whether a
                    given hotel or guest room meets his or her accessibility needs;



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                    (iii) Ensure that accessible guest rooms are held for use by individuals
                    with disabilities until all other guest rooms of that type have been rented
                    and the accessible room requested is the only remaining room of that type;
                    (iv) Reserve, upon request, accessible guest rooms or specific types of
                    guest rooms and ensure that the guest rooms requested are blocked and
                    removed from all reservations systems; and
                    (v) Guarantee that the specific accessible guest room reserved through its
                    reservations service is held for the reserving customer, regardless of
                    whether a specific room is held in response to reservations made by others.

8.           These regulations became effective March 15, 2012.

9.           Defendant, either itself or by and through a third party, accepts reservations for its

             hotel online through one or more websites. The purpose of these websites is so

             that members of the public may reserve guest accommodations and review

             information pertaining to the goods, services, features, facilities, benefits,

             advantages, and accommodations of the Property. As such, these websites are

             subject to the requirements of 28 C.F.R. Section 36.302(e).

10.          Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

             purpose of reviewing and assessing the accessible features at the Property and

             ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

             his accessibility needs. However, Plaintiff was unable to do so because Defendant

             failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

             As a result, Plaintiff was deprived the same goods, services, features, facilities,

             benefits, advantages, and accommodations of the Property available to the general

             public. Specifically, the following violations were found:




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             •      The website for the hotel located at expedia.com did not identify or allow

                    for reservation of accessible guest rooms and did not provide sufficient

                    information regarding accessability at the hotel.

             •      The website for the hotel located at hotels.com did not identify or allow fo

                    reservation of accessible guest rooms and did not provide sufficient

                    information regarding accessability at the hotel.

             •      The website for the hotel located at orbitz.com did not identify or allow for

                    reservation of accessible guest rooms and did not provide sufficient

                    information regarding accessability at the hotel.

             •      The website for the hotel located at cheaptickets.com did not identify or

                    allow for reservation of accessible guest rooms and did not provide

                    sufficient information regarding accessability at the hotel.

             •      The website for the hotel located at travelocity.com did not identify or

                    allow for reservation of accessible guest rooms and did not provide

                    sufficient information regarding accessability at the hotel.

             •      The website for the hotel located at hotels.bookety.com did not identify or

                    allow for reservation of accessible guest rooms and did not provide

                    sufficient information regarding accessability at the hotel.

11.          In the near future, Plaintiff intends to revisit Defendant's online reservations

             system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this

             respect, Plaintiff maintains a system to ensure that she revisits the online

             reservations system of every hotel she sues. By this system, Plaintiff maintains a


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             list of all hotels she has sued with several columns following each. She

             continually updates this list by, among other things, entering the dates she did visit

             and plans to again visit the hotel's online reservations system. With respect to

             each hotel, she visits the online reservations system multiple times prior to the

             complaint being filed, then visits again shortly after the complaint is filed. Once a

             judgment is obtained or settlement agreement reached, she records the date by

             which the hotel's online reservations system must be compliant and revisits when

             that date arrives.

12.          Plaintiff is continuously aware that the subject websites remain non-compliant and

             that it would be a futile gesture to revisit the websites as long as those violations

             exist unless she is willing to suffer additional discrimination.

13.          The violations present at Defendant's websites infringe Plaintiff's right to travel

             free of discrimination and deprive her of the information required to make

             meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

             frustration and humiliation as the result of the discriminatory conditions present at

             Defendant's websites. By continuing to operate the websites with discriminatory

             conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

             and deprives Plaintiff the full and equal enjoyment of the goods, services,

             facilities, privileges and/or accommodations available to the general public. By

             encountering the discriminatory conditions at Defendant's website, and knowing

             that it would be a futile gesture to return to the websites unless she is willing to

             endure additional discrimination, Plaintiff is deprived of the same advantages,


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             privileges, goods, services and benefits readily available to the general public. By

             maintaining a websites with violations, Defendant deprives Plaintiff the equality

             of opportunity offered to the general public. Defendant's online reservations

             system serves as a gateway to its hotel. Because this online reservations system

             discriminates against Plaintiff, it is thereby more difficult to book a room at the

             hotel or make an informed decision as to whether the facilities at the hotel are

             accessible.

14.          Plaintiff has suffered and will continue to suffer direct and indirect injury as a

             result of the Defendant’s discrimination until the Defendant is compelled to

             modify its websites to comply with the requirements of the ADA and to

             continually monitor and ensure that the subject websites remain in compliance.

15.          Plaintiff has a realistic, credible, existing and continuing threat of discrimination

             from the Defendant’s non-compliance with the ADA with respect to these

             websites. Plaintiff has reasonable grounds to believe that she will continue to be

             subjected to discrimination in violation of the ADA by the Defendant.

16.          The Defendant has discriminated against the Plaintiff by denying her access to,

             and full and equal enjoyment of, the goods, services, facilities, privileges,

             advantages and/or accommodations of the subject website.

17.          The Plaintiff and all others similarly situated will continue to suffer such

             discrimination, injury and damage without the immediate relief provided by the

             ADA as requested herein.




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18.          Defendant has discriminated against the Plaintiff by denying her access to full and

             equal enjoyment of the goods, services, facilities, privileges, advantages and/or

             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

             Defendant continues to discriminate against the Plaintiff, and all those similarly

             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such efforts that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make them readily accessible and useable to the Plaintiff and

             all other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the websites until such time as the Defendant cures its

             violations of the ADA.


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WHEREFORE, Plaintiff respectfully requests:

      a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.     Injunctive relief against the Defendant including an order to revise its websites to

             comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

             maintain the websites to ensure that it remains in compliance with said requirement.

      c.     An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

             § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.

                                   Respectfully Submitted,

                                           /s/ Tristan W. Gillespie
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